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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


                                  )
KAREN READ,                       )
                                  )
          Petitioner,             )
                                  )                           Civil Action No.
    v.                            )                           25-cv-10399-FDS
                                  )
NORFOLK COUNTY SUPERIOR COURT and )
MASSACHUSETTS ATTORNEY GENERAL, )
                                  )
          Respondents.            )
                                  )


        RESPONDENT’S STATEMENT REGARDING EXISTENCE OF VICTIM

       The respondent, Norfolk County Superior Court, hereby states that the offenses with

which the petitioner, Karen Read, is charged and upon which her petition for a writ of habeas

corpus is based did have a victim as that term is defined by 18 U.S.C. § 3771.

                                                    Respectfully submitted,

                                                    NORFOLK COUNTY SUPERIOR COURT

                                                    By its attorney:

                                                    ANDREA JOY CAMPBELL
                                                    ATTORNEY GENERAL

                                                    By: /s/ Caleb J. Schillinger
                                                    Caleb J. Schillinger
                                                    Special Assistant Attorney General
                                                    (BBO# 676592)
                                                    Assistant Norfolk District Attorney
                                                    45 Shawmut Road
                                                    Canton, MA 02021
                                                    (781) 830-4800
Dated: February 26, 2025
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document was filed through the ECF system on February 26,
2025, and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF), including Martin G. Weinberg, Esq., and Michael Pabian, Esq., counsel
for the petitioner in this matter. There are no non-registered participants involved in this case.


                                                     /s/ Caleb J. Schillinger
                                                     Caleb J. Schillinger
                                                     Special Assistant Attorney General




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